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                     United States Court of Appeals
                                      For the First Circuit
                                          _____________________

      No. 24-1092

           UNITED STATES; COMMONWEALTH OF MASSACHUSETTS; DISTRICT OF
         COLUMBIA; STATE OF NEW YORK; STATE OF CALIFORNIA; STATE OF NORTH
                CAROLINA; STATE OF MARYLAND; STATE OF NEW JERSEY,

                                            Plaintiffs - Appellees,

                                                      v.

                    JETBLUE AIRWAYS CORPORATION; SPIRIT AIRLINES, INC.,

                                          Defendants - Appellants.
                                           __________________

                                            ORDER OF COURT

                                          Entered: February 2, 2024

             Defendants-appellants' motion to expedite this appeal is resolved as follows:

             (1) defendants-appellants shall file their brief by 5:00 p.m. on February 26, 2024, as they
      have proposed;

             (2) plaintiffs-appellees shall file their response brief(s) by 5:00 p.m. on April 11, 2024;

             (3) defendants-appellants shall file their reply by 5:00 p.m. on April 25, 2024.

             We contemplate argument during the court's June sitting. Extensions will be strongly
      disfavored.


                                                            By the Court:

                                                            Maria R. Hamilton, Clerk


      cc:
      Donald Campbell Lockhart, Craig Louis Briskin, Edward William Duffy, James L. Moore III,
      John Richard Doidge, Maisie A. Baldwin, Michael DeRita, Patricia C. Corcoran, Aaron
      Teitelbaum, Arianna Markel, Brendan Sepulveda, Brian Hanna, Daniel Loevinsohn, Don P.
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      Amlin, Garrett Windle, John M. Briggs, John DiMarco, John R Thornburgh II, Katherine Celeste
      Speegle, Michael Battaglia, Michelle Livingston, Sarah V. Riblet, Stephanie Elise Pearl, Andrew
      N. DeLaney, William T. Matlack, Robert B. McNary, Estefania Yulianny Torres Paez, C. William
      Margrabe, Jeremy Girton, Caroline S. Van Zile, Morgan J. Feder, Amy Elizabeth McFarlane,
      Christopher Michael D'Angelo, Elinor Hoffmann, Olga Kogan, Jamie L. Miller, Komal Patel,
      Jessica Vance Sutton, Byron Warren, Gary Honick, Ana Atta-Alla, Bryan Steven Sanchez,
      Zachary R. Hafer, Ryan A. Shores, Beatriz Mejia, Zachary Sisko, Richard F. Schwed, Brian
      Hauser, Jessica K. Delbaum, Leila Rashida Siddiky, Ryan Leske, Deepti Bansal, Ethan Glass,
      Elizabeth M. Wright, Matt Nguyen, Joyce Rodriguez-Luna, Tina Asgharian, David Garfinkel,
      David I. Gelfand, Joseph M. Kay, Daniel P. Culley, Charles Balaan, Elizabeth Robinson, Grace
      Song, Harlan Rosenson, Isabel Tuz, Jacob Kotler, Jeremy Newman, Laura Rodgers, Matt
      Rosenthal, Michael P. Mitchell, Michael Tetreault, Noni Nelson, Rachel Mossman Zieminski,
      Samuel Guggenheimer, Sheyla D. Soriano, Kannon K. Shanmugam, John C. Calhoun, Samuel
      Newland Rudman, Meredith Richardson Dearborn, Andrew C. Finch, Eyitayo St. Matthew-
      Daniel, Jay Cohen, Jackson Cory Yates, Kate Wald, Thomas Rucker, Jared P. Nagley, Joseph Peter
      Rockers, John J. Falvey Jr., Julie Scharfenberg Elmer, Mary Lehner, Allison Aviki, William
      Stallings, James P. Denvir III, Benjamin P. Solomon-Schwartz, Michael S. Mitchell, Michael F.
      Murray, Nathaniel Bruce Edmonds, Noah Byron Pinegar, Scott Frederick Peachman, Kaitlin Mary
      Thompson, Mark H. Hamer, Kristen E. Lloyd, Andrew T. O'Connor, John Francis White III,
      Austin James Riter, Jonathan O. Hafen, Christina S. Marshall, Peter J. Perroni, Holly Ellen Oliva-
      Van Horsten, Kathleen M. Phillips, Glenn A. MacKinlay, Dean Austin Elwell, Jamie Roy Lynn,
      Marguerite M. Sullivan, David C. Tolley, Carla N. Gilbertson, Jeffrey D. Vanacore, Lisa C. Wood,
      Daniel Howley, Marissa Mugan, Taylor Williams, Jonathan R. Buck, Jennifer L. Giordano, Alan
      Devlin, Anna M. Rathbun, Sadik Huseny
